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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA
v.
CHRISTOPHER KELLY
                                              Criminal Case No. 19-CR-250-PB


                      MOTION FOR JUDICIAL RECOMMENDATION

        The defendant, Christopher Kelly, by and through counsel, Donna J. Brown, respectfully

moves the Court for a judicial recommendation that he be considered for participation in

Medication-Assisted Treatment (MAT) program at the Strafford County Department of

Corrections.

        In support of this motion, the defendant submits that:

     After a 3-day jury trial, the defendant was found guilty by jury on March 5, 2021 of one

count of conspiracy to distribute and possess with intent to distribute methamphetamine pursuant

to 21 U.S.C § 846, § 841 (a)(1), 21 U.S.C § 841 (b)(1)(C) and one count of possession of a

firearm and ammunition by a convicted felon pursuant to 18 U.S.C. § 922 (g)(1).

     Mr. Kelly is incarcerated at Strafford County Department of Corrections awaiting sentencing.

Sentencing in this matter is presently scheduled for December 10, 2021.

     After post-conviction appoint on this case, undersigned counsel attempted to locate any

medical records relevant to Mr. Kelly’s substance use disorder. These records document a

history of opioid addictions dating back more than 10 years:

          Date      Event related to Opioid Addition                                  Source
          3/6/08    Admitted to Elliot Hospital – “I want to detox” and “now          Ex. 1 at
                    taking heroin.”                                                   11-12
          5/2/08    NH State Prison Records – “On Suboxin” (sic)                      Ex. 1 at 15



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            9/10/10 Admitted at CMC - Kelly experiencing narcotic withdrawal          Ex. 1 at 9
            11/3/15 Mental Health Center of Greater NH – Prescribed “Oxys”            Ex. 1 at 14
            2/17/16 Admitted to CMC – “IV heroin user”                                Ex. 1 at 1-
                                                                                      3
            2/28/16 Admitted to CMC – Admitted to using heroin prior to arrival       Ex. 1 at 5
            11/6/16 Admitted to Elliot Hospital – Note: Prescribed Buprenorphine      Ex. 1 at 13
                    [to treat opioid addiction]
            2/6/18 Admitted to CMC – “Abused heroin”                                  Ex. 1 at 3
            5/11/18 Admitted to CMC – “Injected heroin” and on prescription           Ex. 1 at 6-
                    Oxycodone                                                         7
            1/18/20 Lakes Region Hospital – “Detoxing” previously maintained on       Ex. 1 at
                    suboxone and recently relapsed – referral made to get back on     16-21
                    suboxone.


    Mr. Kelly believes MAT is an essential key to his recovery and respectfully requests that this

Court recommend that the relevant correctional authority evaluate the attached medical records

for his induction into its MAT program while he is incarcerated. Mr. Kelly sent a request to

Strafford Department of Corrections to be assessed by ROAD to a Better Life for MAT but the

response suggested that he was only eligible for the program upon release. Exhibit 2.

    By making this motion, Mr. Kelly is seeking access to any available treatment tools that will

aid him in his recovery, and ultimately, his reentry. A recommendation from the Court will

hopefully help Mr. Kelly gain access to MAT while he is still at the Strafford Department of

Corrections and then incarcerated in the BOP. Additionally, the Strafford County Department of

Corrections’ failure to make MAT available to Mr. Kelly is inconsistent with the holding in a

Smith v. Aroostook County, 922 F.3d 41, 42 (1st Cir. 2019), affirming Smith v. Aroostook

County, 376 F.Supp.3d 146, 160 (Me. 2019).

    Undersigned counsel has contacted the government by and through AUSA Debra Walsh and

she does not object to Mr. Kelly receiving MAT treatment if deemed medically appropriate by

the jail.

    No memorandum is attached as all points and authorities are contained herein.

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       WHEREFORE, the defendant respectfully requests that the Court grant the requested

relief, recommend that the Strafford Count Department of Corrections evaluate Mr. Kelly for

induction into their MAT program, and for such other relief as may be deemed just.

                                                   Respectfully submitted,


                                                   Christopher Kelly
                                                   By his attorneys,


                                                   Wadleigh, Starr & Peters, P.L.L.C.


Dated: November 16, 2021                    By: /s/ Donna J. Brown
                                                     Donna J. Brown
                                                     95 Market Street
                                                     Manchester, NH 03101
                                                     (603) 669-4140



                                CERTIFICATE OF SERVICE
      I hereby certify that this motion has been e-filed to AUSA Debra Walsh on this 16th day
of November 2021.
                                                   /s/ Donna J. Brown




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